Case 2:03-cV-02217-.]P|\/|-de Document 378 Filed 08/29/05 Page 1 of 3 Page|D 383

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IN THE UNITED STATES DISTRICT COURT at“' -_j

FoR THE WESTERN DIsTRIcT oF TENNESSEE ,'
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coMPANY, INc. , ' WDOFTN.MEMPHS

 

Plaintiff and
Counter-Defendant,

v.
No. 03-2217 Ml/V
SUNTRUST BANKS, INC., SUNTRUST
BANK, SUNTRUST BANK-ATLANTA,
SUNTRUST BANK-NASHVILLE, N.A.,
SUNTRUST EQUITABLE SECURITIES
CORPORATION, and

SUNTRUST CAPITAL MARKETS, INC.,

Defendants and
Counter-Plaintiffs.

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JUDGMENT

 

JUDGMENT BY COURT. This cause came on for consideration by the
Court on cross motions for summary judgment and, upon the
granting of Defendants' motion for summary judgment, on
Defendant’s application for attorney’s fees. The issues have
been considered and decisions rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order Granting Defendants' Motion for Summary
Judgment, entered May lO, 2005, the Order Granting in Part and
Denying in Part Plaintiff’s Motion to Dismiss Defendants'
Counterclaim for Indemnification and Order Granting Defendants’
Motion for Summary Judgment Regarding Defendants' Counterclaim
for Indemnification, entered May lO, 2005, and the Order Granting
in Part and Denying in Part Defendants/Counterclaim Plaintiffs'
Application for Attorney’s Fees, entered July 25, 2005, judgment
is hereby entered as follows: _

all claims by Plaintiff Power and Telephone Supply Company,
Inc., are hereby DISMISSED WITH PREJUDICE, and

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with Huls 58 and/or 79(a) FHCP on lwe 57£

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a judgment for fees and expenses in the amount of
$802,535.93 be and is hereby entered in favor of Defendants
and against Plaintiff Power and Telephone Supply Company,

Inc.
APPROVED:

Qm‘OM

JO P. MCCALLA
U ITED STATES DISTRICT COURT

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Date Cle f Court

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 378 in
case 2:03-CV-022]7 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

John C. Speer

BASS BERRY & SIMS PLC
100 Peabody Place

Ste. 900

l\/lemphis7 TN 38103

S. LaWrence Pclk

SUTHERLAND ASBILL & BRENNAN LLP
999 Peachtree Street N.E.

Atlanta, GA 30309--399

Elena C. Parent

SUTHERLAND ASBILL & BRENNAN LLP
999 Peachtree Street N.E.

Atlanta, GA 30309--399

Sara Margaret Falkinham
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

l\/lemphis7 TN 3 8103--246

Cannon F. Allen

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

l\/lemphis7 TN 38103--246

Honcrable Jon McCalla
US DISTRICT COURT

